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 8
                             UNITED STATES BANKRUPTCY COURT
 9                                  DISTRICT OF NEVADA

10   In re:                                 )            Case No.: 18-10792-LED
                                            )
11
     Lucky Dragon Hotel & Casino, LLC,      )            Chapter 11
12
                                            )
                        Debtor.             )            Hearing Date:
13   ______________________________________ )            Hearing Time:

14
                     DEBTOR’S MOTION FOR ORDER PURSUANT TO 11 U.S.C.
15                  §§ 105(a), 363(b), 1107(a) AND 1108 AUTHORIZING, BUT NOT
                  DIRECTING, THE DEBTOR TO HONOR CERTAIN PREPETITION
16                   OBLIGATIONS AND MAINTAIN CUSTOMER PROGRAMS
17
              Lucky Dragon Hotel & Casino, LLC, the above-captioned debtor and debtor-in-
18
     possession (the “Debtor”), hereby moves this court (the “Motion”) for the entry of an order
19
     authorizing, but not directing, the Debtor to (a) pay certain prepetition claims of various casino
20

21
     patrons, and (b) maintain its customer programs pursuant to sections 105(a), 363(b), 1107(a) and

22   1108 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (as amended, the

23   “Bankruptcy Code”). In support of the Motion, the Debtor respectfully states as follows:
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25

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 1
                                                  Jurisdiction

 2            1.       This Court has jurisdiction over this Motion under 28 U.S.C. § 1334. This

 3   matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this
 4
     proceeding and this Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.
 5
              2.       The statutory bases for the relief requested herein are sections 105(a) and 363(b)
 6
     of the Bankruptcy Code.
 7
                                                  Background
 8

 9            3.       The Lucky Dragon Hotel & Casino is the first casino resort in Las Vegas designed

10   from the ground up to create an authentic Asian cultural and gaming experience. Opened in
11
     November 2016, the casino property originally started with: (i) a 27,500 square foot, two-level
12
     casino; (ii) 37 gaming tables and 287 slot machines; (iii) 203 hotel rooms, including 14 suites
13
     and a penthouse; (iv) 4 Asian inspired restaurants; (v) 3 bars and lounges; and (vi) a first class
14
     spa (collectively, the “Resort”). Currently, the enterprise employs 98 people and is primarily
15

16   operating only the hotel and limited food and beverage service; however, when fully operating, it

17   is projected the Resort will employ 475 people.
18            4.       The Lucky Dragon anticipates that once its operation is stabilized through either
19
     the reorganization or sale of the Property, it will be profitable by capitalizing on the underserved
20
     Asian gaming community and customers, as well as the growth of the local market on the North
21
     Strip. The Debtor’s initial core customers consisted of the local Las Vegas Asian and non-Asian
22

23   market, the regional Asian population, including Los Angeles and San Francisco, and the

24   International Asian visitor, including travelers from Mainland China, Taiwan and Canada.
25   Indeed, nearly 5 million Asian Americans live in California alone, and 200,000 more live in Las
26
     Vegas.        The Debtor anticipates that with a proper marketing budget and the sufficient
27


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     stabilization of its operations, coupled with the growth of and development of the North Strip

 2   corridor, including the expansion of the Las Vegas Convention Center, the Resort will flourish,

 3   particularly in the local Las Vegas market.
 4
              5.       The Lucky Dragon Hotel and Casino primarily consists of 2 entities. Lucky
 5
     Dragon, LP, which owns the real estate and improvements at 300 West Sahara Avenue, Las
 6
     Vegas, Nevada (the “Property”), and employs 68 full time and 30 part-time people. The
 7
     gaming, hotel and resort operations are then owned and controlled by the Debtor, the Lucky
 8

 9   Dragon Hotel and Casino, LLC, which also leases the 98 employees from Lucky Dragon, LP.

10   The capital structure between the companies includes approximately 179 individuals who
11
     invested $500,000 each, or $89,500,000 in Lucky Dragon, LP, through the Immigrant Investor
12
     Program, or what is commonly referred to as EB-5 investments.1 In addition, the enterprise is
13
     encumbered by 2 loans from Snow Covered Capital, LLC (“Snow Covered”), including an
14
     initial $30,000,000 construction loan facility, as well as a $15,000,000 revolving loan
15

16   (collectively, the “Snow Covered Loans”). The Loans, in turn, are secured by a deed of trust

17   dated May 3, 2016, and recorded against the Property. As of the date hereof, Lucky Dragon
18   Holdings owes Snow Covered approximately $48,877,969.15.
19
              6.       On September 1, 2017, Snow Covered recorded a Notice of Default with the
20
     Clark County Recorder, starting the foreclosure process with respect to the Property. As of the
21
     Petition Date, a foreclosure sale is set for February 22, 2018. In order to reorganize, preserve 98
22

23   jobs, facilitate the orderly payoff of Snow Covered, and the goodwill of the Resort, the Debtor

24   filed its Chapter 11 case. Looking forward, the Debtor anticipates a quick auction, which will
25   1
             An EB-5 visa is an opportunity for qualified foreign investors to obtain a Green Card for
     themselves or their families through the Immigrant Investor Program, which was established by
26
     Congress in 1992. The EB-5 program authorized the U.S. Citizenship and Immigration Services
27   to grant Green Cards to foreign investors who help create or save jobs for U.S. citizens. In this
     case, the Debtor and Lucky Dragon, LP qualified for the EB-5 program.
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 1
     pay Snow Covered in full, provide fresh capital, and reenergize the project, such that it can

 2   become profitable and expand into full operation as quickly as possible.

 3            7.       Indeed, the Debtor filed its case in good faith, to preserve jobs, pay its creditors
 4
     and provide certainty to the market with respect to the Property and the Resort. In order to
 5
     facilitate its quick emergence from bankruptcy, the Debtor retained Spectrum Gaming Capital
 6
     (“SGC”) as its financial advisor. Prior to the filing, the Debtor, through SGC, started actively
 7
     showing the Property and the Resort to interested parties, many of whom expressed serious
 8

 9   interest in the assets and in amounts that would pay Snow Covered in full. Therefore, the Debtor

10   anticipates running a quick, but thoughtful auction of the Property and Resort, so that not only
11
     are Snow Covered’s secured claims are protected, but unsecured creditors are also given an
12
     opportunity to recover for their claims, and EB-5 investors are given an opportunity to preserve
13
     their investments, to the extent each are possible. Accordingly, the Debtor believes a Chapter 11
14
     sale process in this case is the best opportunity for all interested parties to preserve and maximize
15

16   the value of the Property and the Resort.

17            8.        In the ordinary course of operating its hotel and casino, the Debtor routinely
18   issues slot vouchers and gaming chips of various denominations in order to facilitate its
19
     customer’s ability to place wagers on the casino floor. The Debtor surmises that many Lucky
20
     Dragon patrons currently possess gaming currency issued by the Debtor (the “Outstanding
21
     Gaming Currency”). Although difficult to estimate the precise amount of Outstanding Gaming
22

23   Currency, the Debtor routinely accounts for the amount of Outstanding Gaming Currency. As of

24   the Petition Date, the Debtor estimates that its patrons are in possession of approximately
25   $50,000 in Outstanding Gaming Currency.
26

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              9.       Additionally, the Debtor offers several promotional offerings, rewards clubs, and

 2   loyalty programs (the “Customer Programs”) which cater to Lucky Dragon casino-goers.

 3   Through operation of the Customer Programs, Lucky Dragon patrons can earn discounted hotel
 4
     rooms, parking upgrades, VIP passes to various events, and rewards points for use within the
 5
     hotel and casino. The Customer Programs are critical to the Debtor’s business; particularly, they
 6
     promote brand loyalty, enhance the customer experience at the Lucky Dragon, and help generate
 7
     the revenue stream with which the Debtor relies upon to operate.
 8

 9            10.      First, the Debtor’s most ubiquitous Customer Program is its property-wide

10   Dragon Club. Through the Dragon Club, most purchases, hotel stays, and wagers at the Debtor’s
11
     hotel and casino allow the guest to earn rewards points.
12
              11.      The rewards points, in turn, can be redeemed by a participating member for
13
     discounted accommodations, meals, or wagers at the Lucky Dragon. More points correspond
14
     with more attractive benefits and privileges. The rewards points accumulated by each member of
15

16   the Dragon Club generally remain outstanding unless they are redeemed or forfeited. As of the

17   Petition Date, the Debtor estimates approximately $5,000 in Customer Program obligations
18   remain outstanding.
19
              12.      Second, the Debtor presents certain casino patrons and hotel guests with a variety
20
     of individualized offers and accommodations. Substantially all of these customer offers are
21
     bespoke, custom designed offerings based on the particular preferences of the customer and are
22

23   delivered through direct marketing campaigns.          By way of example, when the casino is

24   operating, an offer can include free play credits on the patron’s casino game of choice,
25   complimentary hotel stays, complimentary meals and free event tickets, among others. The
26

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     Debtor generally only incurs an obligation with respect to the aforementioned offers when such

 2   offers are accepted and redeemed.

 3            13.      As part of their normal business operations, the Debtor relies upon the members
 4
     of the Customer Programs, and other patrons, to frequent its hotel and casino in order to continue
 5
     their business operations. The debtor will continue to require the same during the pendency of
 6
     the Chapter 11 Case. As such, the importance of maintaining the administration of the Customer
 7
     Programs is paramount to the Debtor’s ability to compete in the highly competitive gaming and
 8

 9   entertainment space in Southern Nevada. Without maintenance of the Customer Programs, the

10   Debtor’s business will suffer as a result of diminished confidence in the ongoing operation of the
11
     Lucky Dragon.
12
              14.      Indeed, failure to maintain the Customer Programs will likely inhibit the Debtor’s
13
     ability to complete a successful reorganization. Failure to honor the Customer Programs will
14
     inevitably lead to the loss of a substantial segment of the Debtor’s customer base, which will
15

16   likely turn to any of the Debtor’s competitors, namely the numerous hotel and casino offerings

17   available in Las Vegas, Nevada. Moreover, failure to honor certain of the Customer Programs
18   likely constitutes a violation of various state gaming laws and regulations. See, e.g., NRS 463.
19
              15.      In sum, the Debtor believes it is in the best interests of its estate and all of its
20
     creditors that it obtain authority to pay holders of Outstanding Gaming Currency and maintain
21
     the Customer Programs, in the ordinary course of business, as preserving the Customer Programs
22

23   during the Chapter 11 Case is critical to protecting the Debtor’s operations and preserving the

24   value of the business for the benefit of the estate. Therefore, the Debtor seeks authority from this
25   Court to satisfy certain prepetition obligations and maintain administration of each of the
26
     Customer Programs in the ordinary course of business.
27


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 1
                                              Relief Requested

 2            16.      By this Motion, the Debtor seeks an order of this Court authorizing, but not

 3   directing the Debtor, in its business judgment, to pay certain prepetition obligations related to the
 4
     Outstanding Gaming Currency and to maintain administration of the Customer Programs.
 5
                                               Basis for Relief
 6
              17.      Section 105(a) of the Bankruptcy Court empowers the Court to “issue any order,
 7
     process, or judgment that is necessary or appropriate to carry out the provisions of [the
 8

 9   Bankruptcy Code].” Under Section 105(a), a court “can permit pre-plan payment of a prepetition

10   obligation where essential to the continued operation of the debtor.” In re NVR L.P., 147 B.R.
11
     126, 127 (Bankr. E.D.Va. 1992); see also, In re Just for Feet, Inc., 242 B.R. 821, 826 (D.Del
12
     1999) (“To invoke the necessity of payment doctrine, a debtor must show that payment of the
13
     prepetition claims is critical to the debtor’s reorganization.”)(internal quotation omitted).
14
              18.      Section 363(b) of the Bankruptcy Code allows a debtor in possession to use, sell,
15

16   or lease property of the estate other than in the ordinary course of business after notice and a

17   hearing. 11 U.S.C. § 363(b)(1). Bankruptcy courts have approved the payment of critical vendor
18   claims in circumstances where the payments are necessary to protect a debtor’s business
19
     operations from substantial disruption. See, e.g., In re Tropical Sportswear Int’l Corp., 320 B.R.
20
     15, 20-21 (Bankr. M.D. Fla. 2005) (allowing critical vendor payments where interruption in flow
21
     of goods would “substantially jeopardize the Debtors’ ability to conduct business”). Courts have
22

23   authorized payment of prepetition obligations under Section 363 of the Bankruptcy Code where

24   a sound business purpose exists for doing so. See, e.g., In re Ionosphere Clubs, Inc., 98 B.R.
25   174, 175 (Bankr. S.D.N.Y. 1989)(finding that a sound business justification existed to justify
26
     payment of certain claims).
27


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 1
              19.      Furthermore, pursuant to Bankruptcy Code sections 1107(a) and 1108, the Debtor

 2   is a fiduciary “holding the bankruptcy estate[s] and operating the business for the benefit of

 3   [their] creditors and (if the value justifies) equity owners.” In re CoServ, L.L.C., 273 B.R. 487,
 4
     497 (Bankr. N.D. Tex. 2002). Implicit in the fiduciary duties of any debtor-in-possession is the
 5
     obligation to “protect and preserve the estate, including an operating business’s going-concern
 6
     value.” Id. Some courts have noted that there are instances in which a debtor can fulfill this
 7
     fiduciary duty “only . . . by the preplan satisfaction of a prepetition claim.” Id.
 8

 9            20.      Importantly, this Court, as well as other bankruptcy courts around the country,

10   routinely approve the relief requested in this Motion. See In re Zen Entertainment, Inc., No. 13-
11
     10590 (Bankr. D. Nev. Feb 4, 2013); In re Jerry’s Nugget, Inc., No. 12-19387 (Bankr. D. Nev.
12
     Aug. 17, 2012); In re Riviera Holdings Corp., No. 10-22910 (Bankr. D. Nev. Jul. 25, 2010); In re
13
     155 East Tropicana, LLC, No. 11-22216 (Bankr. D. Nev. Aug. 9, 2011); and In re Caesars
14
     Entertainment Operating Company, Inc., et al, No-15-01145 (Bankr. N.D. Ill. Jan. 15, 2015).
15

16            21.      The Debtor considers the holders of Outstanding Gaming Currency and

17   continuation of their Customer Programs critical to their operations because the continued
18   patronage of the Debtor’s resort hotel and casino provide the Debtor with a revenue stream that
19
     is essential to the Debtor’s business; and (b) failure to honor the Outstanding Gaming Currency
20
     or maintain the Customer Programs would result in the loss of customers which would be
21
     detrimental to the Debtor’s successful reorganization.
22

23            22.      Here, the Debtor operates in a highly competitive environment, where customer

24   satisfaction and the ability to maintain repeat business through exceptional customer service are
25   of critical importance.     Indeed, customer satisfaction is a key component of the Debtor’s
26
     business. Retaining current customers and attracting new customers will ultimately increase the
27


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 1
     Debtor’s revenue and therefore promote their efforts to successfully reorganize. Accordingly,

 2   the Debtor does not want to risk an unnecessary interruption in the operation of its business. The

 3   Debtor enjoys relationships with various customers who currently hold Outstanding Gaming
 4
     Currency or are integral members of the Customer Programs. Each of these patrons are of such
 5
     critical importance to the Debtor that dishonoring Outstanding Gaming Currency or cessation of
 6
     the Customer Programs will certainly endanger any meaningful attempt at reorganization and
 7
     substantially harm all creditors.
 8

 9            23.      Finally, the Debtor is required under Nevada law to honor the Outstanding

10   Gaming Currency and could lose its gaming license if it does not honor the Outstanding Gaming
11
     Currency. See, e.g. NRS 463. NRS 463.0129(b) for example, reads, the “continued growth and
12
     success of gaming is dependent upon public confidence and trust that licensed gaming and the
13
     manufacture, sale and distribution of gaming devices and associated equipment are conducted
14
     honestly and competitively, that establishments which hold restricted and nonrestricted licenses
15

16   where gaming is conducted and where gambling devices are operated do not unduly impact the

17   quality of life enjoyed by residents of the surrounding neighborhoods, that the rights of the
18   creditors of licensees are protected and that gaming is free from criminal and corruptive
19
     elements. Moreover, NRS 463.150(1)(i) grants the Nevada Gaming Commission the authority to
20
     adopt regulations, “[p]rescribing under what conditions the nonpayment of a gambling debt by a
21
     licensee shall be deemed grounds for revocation or suspension of the licensee’s license.” Nevada
22

23   Gaming Commission Regulation 12.060(2)(c), in turn, states that a licensee that uses chips or

24   tokens at its gaming establishment shall, “[p]romptly redeem its own chips and tokens from its
25   patrons by cash or check drawn on account of the licensee.” Moreover, Nevada Gaming
26
     Commission Regulation 12.070 states, “A licensee that permanently removes from use or
27


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     replaces approved chips or tokens at its gaming establishment, or that ceases operating its

 2   gaming establishment whether because of closure or sale of the establishment or any other

 3   reason, must prepare a plan for redeeming discontinued chips and tokens that remain outstanding
 4
     at the time of discontinuance. The licensee must submit the plan in writing to the chairman not
 5
     later than 30 days before the proposed removal, replacement, sale, or closure, unless the closure
 6
     or other cause for discontinuance of the chips or tokens cannot reasonably be anticipated, in
 7
     which event the licensee must submit the plan as soon as reasonably practicable.” Finally,
 8

 9   Nevada Gaming Commission Regulation 5.030 provides, “Violation of any provision of the

10   Nevada Gaming Control Act or of these regulations by a licensee, his agent or employee shall be
11
     deemed contrary to the public health, safety, morals, good order and general welfare of the
12
     inhabitants of the State of Nevada and grounds for suspension or revocation of a license.”
13
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 1
              WHEREFORE, the Debtor respectfully requests that this Court enter an Order, in the

 2   form or order attached hereto as Exhibit A: (i) granting the relief requested in this Motion, and

 3   (ii) granting such other and further relief that the Court deems just and proper.
 4
              DATED this 16th day of February, 2018.
 5

 6   Respectfully Submitted,

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